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                                   UNITED STATES DISTRICT COURT
                                   EASTERN DISTRICT OF LOUISIANA


LASHAWN JONES, ET AL.                                                        CIVIL ACTION

VERSUS                                                                       NUMBER: 12-0859

MARLIN N. GUSMAN, ET AL.                                                     SECTION: “I”(5)


                                   REPORT AND RECOMMENDATION


      I.       Introduction

            Before the Court pursuant to an order of reference from the District Judge (rec. doc.

1429), is the City of New Orleans’ Motion to Stay. (Rec. doc. 1410). The Department of Justice

(“DOJ”) and the Plaintiffs filed opposition memoranda. (Rec. docs. 1425, 1426). 1 The City

then filed a reply memorandum. (Rec. doc. 1431). Because the City raised new issues in its

reply for the first time, the Court issued an order directing the parties to file sur-reply briefs

and scheduling a hearing on the motion. (Rec. doc. 1430). Sur-reply briefs were filed by DOJ,

the Sheriff, and the Plaintiffs. (Rec. docs. 1436, 1437, 1439). The Court held a hearing on the

motion on April 28, 2021. (Rec. doc. 1443).

            After consideration of the pleadings, the law, and the arguments of counsel, the Court

issues the following Report and Recommendation.

      II.      Procedural Background

            True to recent form, the City has managed to turn what would normally be a simple

procedural question into a tangled knot of ill-conceived, ad hoc arguments, the unraveling of




1   For reasons not altogether clear, the Sheriff did not file a response memorandum.
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which becomes more and more difficult every time the City files a new brief or its lawyers

speak out loud on the record.

        The discrete issue under review revolves around the City’s responsibility to provide

basic constitutional care to the most vulnerable of our citizens who wind up incarcerated in

the Orleans Justice Center. The importance of that constitutional responsibility continues to

evade the City and its attorneys. Nowhere will any reader find in the City’s briefs an

acknowledgement of (1) inmates’ rights to be housed and treated in a constitutional fashion

and/or (2) any concern whatsoever by the City directed at solving a problem that the Court

and every qualified professional in this case say is both enduring and dire. We do read a lot

about money, though.

        What we continue to get from the City is a litany of justifications for not doing the

right thing, i.e., building a special-needs facility. How, one might ask, do we know it’s the

right thing? For one, because the parties in this case, including the City, have long agreed

that construction of this “special needs” facility was the most reasonable and feasible

solution to the enduring problem of caring for these populations. 2 To be clear, despite being

given multiple opportunities to do so, the City of New Orleans has never presented to the

Court a concrete plan to address the problem of constitutionally housing inmates with

medical and mental-health needs other than the so-called “Phase III” solution. 3

        Yet now, after agreeing (for a second time) to build this facility and assuring the Court

for 13 months that such work was in progress, the City is in full retreat –clumsily attempting


2 As is well detailed in the record, years after the Landrieu Administration agreed to design and build Phase III,
the Cantrell Administration also agreed to design and build the facility. (Rec. doc. 1385). No doubt this explains
why the City never appealed the orders directing the City to implement that commitment – orders the City now
belatedly claims illegally directed it to build a jail.
3 No doubt the City will claim that its “retrofit” alternative is such a concrete plan. It simply is not, for the

reasons discussed in detail in the Court’s earlier Report and Recommendation. (Rec. doc. 1385 at 60-63).

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to rewrite the history of this case in the process. In service of its decision to avoid at all costs

the commitments to this Court, the other parties, and our community that it made more than

four years ago, the City and its attorneys have unleashed another progression of disjointed

and unconvincing arguments asking the Court stay the effect of the orders the City says

required it to “build a jail.”

        Following the District Judge’s adoption of my Report and Recommendations as his

own on January 25, 2021 (rec. doc. 1396), the City filed a Notice of Appeal. (Rec. doc. 1399).

Shortly thereafter, the City filed the present Motion to Stay. (Rec. doc. 1410). After the

Plaintiffs and the DOJ filed opposition memoranda to the City’s motion (rec. docs. 1425,

1426), the City filed a motion for leave to file a reply brief. (Rec. doc. 1428). The District

Judge then referred the Motion to Stay to me for issuance of a Report and Recommendation.

(Rec. doc. 1429). 4 As noted earlier, I held a hearing on the motion April 28, 2021.

        Notably, in its original motion to stay, the City moved solely under Rule 62 of the

Federal Rules of Civil Procedure. (Rec.doc. 1410-1). It did so without citing any specific

provision of Rule 62 – the Rule was only generally cited in passing. (Rec. doc. 1410-1). 5 On

the merits, the City’s memorandum in support is devoted entirely to arguing that it is entitled

to a stay under the four-part test employed in the Fifth Circuit (the “Hilton” factors”), to wit:

                 (1) whether the stay applicant has made a strong showing that
                 he is likely to succeed on the merits; (2) whether the applicant
                 will be irreparably injured absent a stay; (3) whether issuance
                 of the stay will substantially injure the other parties interested
                 in the proceeding; and (4) where the public interest lies.


4 The Motion for Leave to File a Reply Brief was also referred to me for decision.
5 The City’s opening brief begins: “Pursuant to Rule 62 of the Federal Rules of Civil Procedure, Third-Party
Defendant, the City of New Orleans (the “City”), respectfully moves for an order staying this Court’s January 25,
2021 Order & Reasons (the “Order”), denying the City’s Motion for Relief from Court Orders of January 25, 2019
(Rec. Doc. 1221) and March 18, 2019 (Rec. Doc. 1227) regarding Phase III Jail Facility (the “Motion for Relief”).”
(Id.). This is the sole citation to that Rule.

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                                                            (Rec. doc. 1410-1 at 4-5). 6

        Not unexpectedly, the City argues in its motion that all four factors are met in this case

and, for that reason – and that reason alone – it is entitled to a stay.

        In their opposition memorandum, the Plaintiffs eventually address the City’s

arguments on the Hilton factors, but not before addressing what they say are a number of

fatal procedural flaws in the City’s motion. Pointing out that the City had not explained which

part of Rule 62 it was relying on, Plaintiffs include a helpful analysis of the various provisions

of that Rule vis-à-vis the City’s appeal and motion for stay:

                 Rule 62(a) provides for an automatic 30-day stay after entry of
                 the “execution on a judgment and proceedings to enforce it,”
                 “unless the court orders otherwise.” This subdivision is
                 inapplicable to the City’s Motion for Stay. Rule 62(b) provides
                 that a party may obtain a stay after a judgment is entered upon
                 provision of a bond or other security, after approval by the
                 court. This subdivision is also inapplicable to the City’s Motion
                 for Stay.

                 Rule 62(c) and (d) provide for staying an injunction,
                 receivership, or order for a patent accounting, with the 2018
                 amendments to Rule 62 reorganizing and consolidating these
                 provisions without any change to their prior meaning. As the
                 Committee Notes on Rules state, regarding the 2018
                 amendment to subdivisions (c) and (d), “The language is revised
                 to include all the words used in 28 U.S.C. § 1292(a)(1) to
                 describe the right to appeal from interlocutory actions with
                 respect to an injunction, but subdivisions (c) and (d) apply to
                 both the interlocutory injunction orders and to final judgments
                 that grant, refuse or otherwise deal with an injunction.”

                                                                 (Rec. doc. 1426 at 10).




6 Quoting Hilton v. Braunskill, 481 U.S. 770, 776 (1987); Nken v. Holder, 556 U.S. 418, 426 (2009); Moore v.
Tangipahoa Parish Sch. Bd., No. 12-31218, 2013 WL 141791, at *2 (5th Cir. Jan. 14, 2013); United States v. Baylor
Univ. Med. Ctr., 711 F.2d 38, 39 (5th Cir. 1983).

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       The Plaintiffs go on to focus on the term “injunction” as it is used in sections (c) and

(d) (the only provisions of the Rule that could possibly apply to the City’s motion), observing:

              But there is no injunction in play on the City’s Motion for Relief
              and/or any of the subsequent or associated filings. And indeed,
              there is no argument in the City’s Motion for Stay or its
              Memorandum in Support that there is any “interlocutory order
              or final judgment” at issue “that grants, continues, modifies,
              refuses, dissolves, or refuses to dissolve or modify an
              injunction.”

              As such, Rule 62(c) and (d) are also inapplicable to the City’s
              Motion for Stay.
                                                                     (Id.).

       Based upon the motion and memorandum that the City filed, the Plaintiffs’ argument

seemed correct. Likely recognizing what might well have been a fatal procedural flaw in its

motion, the City then resorted to its now-familiar tactic of starting its arguments over again

in a reply memorandum.

       Addressing the Plaintiffs’ arguments that Rule 62 is inapplicable to this motion (1)

because “there is no injunction at play” and (2) because the City had never even suggested

that there was, the City introduced this argument in its reply:

              And, despite the Plaintiff Class’ mistaken understanding of the
              term “injunction,” it is well-settled that under 28 U.S.C. §
              1292(a)(1), circuit courts have jurisdiction over an order that is
              injunctive in nature, even if the order does not technically take
              the form of an order relating to an injunction. As a result, the
              Fifth Circuit has jurisdiction over the City’s appeal because the
              denial of a Rule 60(b) motion and the refusal to modify an
              injunction are both immediately appealable as a matter of right.

                                            (Rec. doc. 1431)(emphasis added).




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Everything underlined above is brand new – none of it was ever argued, or even mentioned,

by the City before. 7 Moreover, while this language speaks to the appealability of an order

denying Rule 60 relief (which is not a question before this Court), it is not particularly helpful

on the question whether a stay of such an order in this case is appropriate. 8

        The City wasn’t finished making brand new arguments. In addition to the new

“injunctive in nature” argument under 28 U.S.C. § 1292(a)(1), the City introduces the

following:

                 Moreover, the City having moved the Court on June 29, 2020 to
                 “modify or terminate prospective relief in a civil action with
                 respect to prison conditions,” the automatic stay provisions
                 outlined in 18 U.S. Code § 3626(e) were triggered on December
                 26, 2020, and the ordered Phase III construction was stayed by
                 operation of law “ending on the date the court enter[ed] [its]
                 final order ruling on the motion.” Thus, contrary to opposing
                 counsel’s assertions, seeking a stay of the Court’s order denying
                 the City’s motion seeking to modify the prospective relief, which
                 lifted the automatic stay, is proper under both Rule 62(d) and
                 18 U.S. Code § 3626(e).
                                                           (Id.)(emphasis

                 added). 9

        Imagine the Court’s surprise when it learned that its orders of more than a year ago

had been automatically stayed by operation of a statutory provision that no one in this case

has ever cited.

        So between the filing of its original motion and its reply memorandum, the City’s

primary argument morphed from one based on a four-part balancing test set out in a well-




7 Notwithstanding that such an argument, introduced for the first time in a reply brief, would ordinarily be
waived (see discussion of waiver in rec. doc. 1385), I issued an order specifically stating that I would not find
the argument waived but would allow the parties to file sur-reply briefs addressing it. (Rec. doc. 1430).
8 The Court assumes, for purposes of this motion, that the denial of the City’s Rule 60 motion is appealable.
9 Again, the underlined language is all new.


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known line of cases to one based primarily on the application of a statutory provision the

City had never cited or otherwise brought to the Court’s attention. This head-spinning

development caused me to order two things: (1) additional briefing by the other parties and

(2) a hearing on the motion. (Rec. doc. 1430).

         The additional briefing was to allow the parties to address the new arguments made

by the City for the first time in its reply brief. The hearing was to give me the opportunity to

try to understand those late-made and generally incongruous arguments. I have now

determined, after thorough consideration of the pleadings, exhibits, arguments, and my

experience in this case, that the City’s motion for a stay should be denied. Here is why.

III.     Analysis

         As noted, I scheduled a hearing on the motion to try to understand a number of

anomalous arguments in the City’s briefing and the questions they raised, beginning with the

threshold question: What practical effect would granting a stay have in this case, given that

the order that would be stayed – the only order under appeal at the Fifth Circuit – is an order

denying relief under Rule 60? It seems fundamental that a stay of the Court’s order denying

the City’s Rule 60 motion would have the practical effect of provisionally granting the

underlying motion, because the City is asking the Court in its motion for stay to allow it to

cease work on Phase III – exactly the object of the Rule 60 motion denied by the District

Judge. I strongly suspected this conundrum was at the root of the City’s late-made argument

about an automatic stay under the PLRA. The following exchange proved that suspicion to

be well-founded:

               [THE COURT]: Mr. Rosenberg, because of the procedural
               position that we’re in in this case, because you are, in essence,
               appealing two orders from a year ago that were never appealed
               initially and you attempted to collaterally attack those orders
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              through a Rule 60 motion – the practical effect of the Court
              granting a stay of its denial of your Rule 60 motion would be to
              temporarily grant your Rule 60 motion. That is not . . . what a
              stay is. You—if this Court stayed the effect of its order, you are
              asking it to, in effect, grant your Rule 60 motion temporarily.

              MR. ROSENBERG: Your Honor, with all due respect, what we’re
              asking is for the Court to basically give effect to the automatic
              stay in the PLRA, Section 3626(e), so that we can get judicial
              review by the Fifth Circuit.
                                            ....
              THE COURT: The effect of--you're asking the Court to
              temporarily grant you the relief that you were denied by the
              District Judge on your Rule 60 motion. That is what you are
              doing. You want to stop work on this facility.

              MR. ROSENBERG:      We want a temporary stay on the
              construction and the depletion of resources, that's correct,
              Judge North.
                                                            (Rec. doc. 1443).

       So, from this exchange we now know how the City’s original arguments are supposed

to fit with its new ones from the reply brief:

                  •   Because the City’s Rule 60 motion arguably sought relief

                      from un-appealed orders that were “injunctive in

                      nature,” an automatic stay of those orders occurred

                      without anyone knowing it on December 26, 2020

                      pursuant to section 3626(e) of the PLRA.

                  •   The automatic stay ended when the District Judge denied

                      the City’s Rule 60 motion.

                  •   The effect of granting the current motion to stay would

                      be to “give effect to” or reactivate the automatic stay,




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                      which would allow the City to stop work again on Phase

                      III.

       This progression of arguments is faulty for a number of reasons.

       First, as a threshold matter, as far as this Court can tell, the only order properly under

review by the Appeals Court is Judge Africk’s January 25, 2021 order denying the City’s Rule

60 motion. The City seems to think otherwise. The City wants this Court (and the Fifth

Circuit) to address the propriety of the underlying orders of January 25, 2019 and March 18,

2019. But, assuming for purposes of this motion that the denial of the City’s Rule 60 motion

is immediately appealable under Rule 62 and/or §1292(a), it is well-established that the

“denial of a Rule 60(b) motion, however, does not bring up the underlying judgment for

review and is not a substitute for appeal.” In re Ta Chi Navigation (Panama) Corp. S.A., 728

F.2d 699, 703 (5th Cir.1984); see also Ammons v. Baldwin, 705 F.2d 1445, 1447 (5th Cir.

1983)(cert. denied, 465 U.S. 1006(1884))(citing Browder v. Director, Department of

Corrections, 434 U.S. 257, 263, n. 7, 98 S.Ct. 556, 560 n. 7, 54 L.Ed.2d 521, 530 n. 7 (1978);

Phillips v. Insurance Co. of North America, 633 F.2d 1165, 1167 (5th Cir.1981)).

       This fundamental precept is important in this case because what the City is aiming for

here is a stay order allowing it to stop work on Phase III. Unless the City is correct about the

imposition of an automatic stay, there is simply no path to such relief here, because the only

orders that directed the City to do anything were the underlying orders, which were never

appealed. And just as an appeal of the denial of the City’s Rule 60 motion does not bring up

for review those underlying orders, it also cannot act as a substitute for a non-existent appeal

of those orders. See, e.g., In re Ta Chi Navigation, 728 F.2d at 703.




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           Only if the City is correct about imposition of an automatic stay would there be any

path to the relief it seeks. As explained here, however, there was no automatic stay.

           Speaking of the alleged automatic stay, it’s worth noting how strange it is that the City

would fail to articulate its linchpin argument until it filed a reply brief in this matter. 10 The

explanations offered for that omission at the hearing were less than satisfying to be sure.

The Court supposes that the City most likely concocted the argument at the last minute when

presented with the Plaintiffs’ opposition memorandum that explained in detail why a “stay”

of the order denying the Rule 60 motion would have no practical effect. (See rec. doc. 1426

at 7-11).

           For instance, Plaintiffs reasonably surmised that:

                   though titled as a “Motion for Stay,” it is clear from the content
                   of the City’s filing that what the City really seeks is the Court’s
                   reconsideration of the City’s Rule 60(b) Motion. The City
                   essentially asks that this Court reverse its Order and instead
                   grant the City the underlying relief it sought: permission to
                   cease work on the Phase III facility to which all parties have
                   been committed since 2016. But this request cannot be
                   accomplished – practically or procedurally – through a Motion
                   for Stay filed pursuant to Rule 62.
                                                                               (Id.).

The City took umbrage at the idea that what it was really seeking was reconsideration by the

Court of its January 25, 2021 order denying the City’s Rule 60 motion, but there’s really no

other way to look at the matter when reading the City’s original motion. Thus, no doubt, the

“automatic stay” argument was conceived.

           The problem with that argument is simple – it depends on the City having filed the

underlying motion pursuant to some provision of the PLRA, which it quite obviously did not



10   Particularly because reply briefs are not available by right and can only be filed with the Court’s permission.

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do. The City moved solely under Rule 60 – the PLRA was not mentioned once in its original

motion or memorandum in support. (Rec. docs. 1281, 1281-1). As Plaintiffs correctly point

out in their sur-reply brief, “The City cannot seek a stay based on a statute under which it did

not seek substantive relief.” (Rec doc. 1436 at 3).

       The relevant language of the PLRA’s stay provision reads:

               (e) Procedure for motions affecting prospective relief.--
                     (1) Generally.--The court shall promptly rule on any
                     motion to modify or terminate prospective relief in a civil
                     action with respect to prison conditions. Mandamus shall
                     lie to remedy any failure to issue a prompt ruling on such
                     a motion.
                     (2) Automatic stay.--Any motion to modify or terminate
                     prospective relief made under subsection (b) shall operate
                     as a stay during the period--
                          (A)(i)      beginning on the 30th day after such
                                      motion is filed, in the case of a motion
                                      made under paragraph (1) or (2) of
                                      subsection (b); or
                              (ii)    beginning on the 180th day after such
                                      motion is filed, in the case of a motion
                                      made under any other law; and
                          (B) ending on the date the court enters a final order
                          ruling on the motion.
                                                    18 U.S.C. §3626(e)(emphasis added).

       Notably, the plain language of the first sentence of the statute states that the stay is

triggered by the filing of “[a]ny motion to modify or terminate prospective relief made under

subsection (b)” of section 3626. Id. Cases interpreting this very language have found that a

PLRA stay is triggered only when a motion pursuant to the PLRA has been filed. See, e.g.,

Miller v. French, 530 U.S. 327, 337 (2000) (under § 3626(e)(2), “[t]he stay is ‘automatic’ once

a state defendant has filed a §3626(b) motion. . . .).




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          The City has failed to explain how this language can be read differently. It simply cites

part of a statute for the first time, says “the PLRA has been a factor in this case since 2013,” 11

and hopes for the best. To the extent the City is implying (or will argue some day later) that

the verbiage “in the case of a motion made under any other law” found in section

3626(e)(2)(A)(ii) could apply to a motion made under Rule 60 of the Federal Rules of Civil

Procedure, it has never actually articulated such an argument and, as a result, has never cited

any case or other authority to suggest such a reading would be correct.

          That this provision is plainly inapplicable to the present circumstances is reinforced

by the City’s own conduct – if the City ever truly believed that a statutory stay had been

triggered on December 26, 2020 while it was desperately seeking to stop work on Phase III,

any reasonable observer would have expected it to inform the Court of that fact the very day

it happened. Not only did the City say nothing, it continued work on the facility. (Rec. doc.

1443 at 15). The City wants the Court to believe that a statutory stay took hold in December

2020, but it never stopped work and, in fact, informed the Court in a status report a mere

five days before the stay would take effect that

                   The Architect has been instructed to submit the 75% plans to
                   the New Orleans Fire Department (NOFD) for a life safety
                   review based on direction from the City's Board of Building
                   Standards and Appeals, and to submit their proposed plan for
                   completing design. Adhering to the Court’s prior Orders, the
                   City is taking immediate steps to further engage the Architect in
                   the completion of design work.
                                                       (Rec. doc. 1388-1)(emphasis added).

Not one word about an impending stay.




11   Rec. doc. 1443 at 5.

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       Finally, the very fact that the City failed initially to cite this automatic stay provision

supports the Court’s conclusion that it is inapplicable in these circumstances. I tried

repeatedly at the hearing to get an explanation for this omission from the City’s counsel. The

closest we got to an explanation was this: “the PLRA has been a factor in this case since 2013”

and “there wasn’t a need to address the automatic stay until the plaintiffs and DOJ. . .then

challenged our motion for a stay, and we had to at least identify the automatic stay provision

if people had not read it.” (Transcript at 5, 12)(emphasis added). Well, why would anyone

read a statutory provision that the City had never mentioned or cited before? Why would

anyone assume the City would rely on such a provision when it has never filed a motion

under the PLRA or written the words “automatic stay” in a brief? The PLRA is a sweeping

and diverse enactment with scores of provisions codified in scattered titles and sections

throughout the United States Code. See Prison Litigation Reform Act of 1995, Pub. L. No. 104-

134, April 26, 1996, 110 Stat 1321. It is disingenuous to suggest that, because some

provisions of the Act have been “a factor in this case since 2013” that the parties and the

Court somehow should have known that the City would rely on an entirely different

provision of that Act without telling anyone they were doing so.

       In sum, there is simply no basis to find in this case that a PLRA automatic stay was

ever triggered by the filing of the City’s Rule 60 motion. It therefore follows that staying the

effect of Judge Africk’s denial of that motion would be an exercise in futility, as the status quo

would not change in any way. As for the City’s stated desire that the Court stay the

underlying orders of January 25, 2019 and March 18, 2019, that relief is simply not

procedurally available to the City, given the manner in which they originally moved for relief.




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        For these reasons, I recommend that the motion for stay be denied. 12

                                            RECOMMENDATION

        For the foregoing reasons, it is recommended that the Motion to Stay of the City of

New Orleans (rec. doc. 1410) be denied.

        A party’s failure to file written objections to the proposed findings, conclusions, and

recommendation contained in a magistrate judge’s report and recommendation within 14

days after being served with a copy shall bar that party, except upon grounds of plain error,

from attacking on appeal the unobjected-to proposed factual findings and legal conclusions

accepted by the district court, provided that the party has been served with notice that such

consequences will result from a failure to object. Douglass v. United States Auto. Assoc., 79

F.3d 1415 (5th Cir. 1996)(en banc). 13/



        New Orleans, Louisiana, this 20th day of                            May          , 2021.




                                                                     MICHAEL B. NORTH
                                                                UNITED STATES MAGISTRATE JUDGE




12 Because I find the requested relief to be procedurally unavailable, I need not address the merits of the parties’
respective arguments on the Hilton factors.
13/ Douglass referenced the previously-applicable 10-day period for the filing of objections. Effective December

1, 2009, 28 U.S.C. §636(b)(1) was amended to extend that period to 14 days.

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